













Opinion issued May 21, 2009








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-08-00239-CV
____________

LEE ROY WESTBROOK CONSTRUCTION COMPANY, INC., Appellant

V.

JESUS DELEON AND LORENA DELEON INDIVIDUALLY AND A/N/F
OF RAMIRO DELEON, EMILZE DELEON, AND DEVIN DELEON,
MINORS, Appellees




On Appeal from the 334th District Court
Harris County, Texas
Trial Court Cause No. 2006-08195




MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant has filed an unopposed  motion to dismiss the appeal.  No opinion
has issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Chief Justice Radack and Justices Taft and Sharp.


